 Fill in this information to identify the case:

 Debtor 1               James J. Solinski
                       __________________________________________________________________

                       Cheryl L. Solinski
 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            WESTERN                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        18-22625- GLT
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   LakeView Loan Servicing, LLC                                                                             8
 Name of creditor: _______________________________________                               Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          0371 ____ ____ ____
                                                         ____                            Must be at least 21 days after date       08    01   2021
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          1,690.24
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
      
      X
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________
                                              762.81 *
                   Current escrow payment: $ _______________                           New escrow payment:            761.03
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      
      X    No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      
      X    No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
     Debtor 1         James J. Solinski
                      _______________________________________________________                                                18-22625- GLT
                                                                                                     Case number (if known) _____________________________________
                      First Name      Middle Name               Last Name




      Part 4:         Sign Here


      The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
      telephone number.
      Check the appropriate box.

               I am the creditor.

           X
                I am the creditor’s authorized agent.



      I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
      knowledge, information, and reasonable belief.



      _____________________________________________________________
           /s/ Lauren M. Moyer
          Signature
                                                                                                     Date    06 17 2021
                                                                                                             ____/_____/________




      Print:              Lauren M. Moyer
                         _________________________________________________________                   Title    Attorney for creditor
                                                                                                             ___________________________
                         First Name                      Middle Name          Last Name



      Company             McCabe, Weisberg & Conway, LLC
                         _________________________________________________________



      Address             123 S. Broad Street, Suite 1400
                         _________________________________________________________
                         Number                 Street

                          Philadelphia, PA 19109
                         ___________________________________________________
                         City                                                 State       ZIP Code



      Contact phone        215
                         (______)  790
                                  _____–   1010
                                         _________                                                          ecfmail@mwc-law.com
                                                                                                     Email ________________________




* The “current escrow” referenced on the attached exhibit corresponds to the last payment which was made contractually. The “current escrow” referenced on the instant Notice of
Mortgage Payment Change corresponds to the escrow amount required at the time of the most recent payment change.




     Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
                        UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA
In re: James J. Solinski and Cheryl L. Solinski Chapter 13
                      Debtors
                                                Bankruptcy No. 18-22625- GLT
LakeView Loan Servicing, LLC, or its
Successor or Assignee
                      Movant                    Related to Document Nos.

               vs.

Ronda J. Winnecour
James J. Solinski and Cheryl L. Solinski
                      Respondents


CERTIFICATION OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

       I, Lauren M. Moyer, attorney for LakeView Loan Servicing, LLC, hereby certify that I
served a true and correct copy of the foregoing Notice of Mortgage Payment Change, by United
States Mail, first class, postage prepaid, and/or electronic means, upon the following:
Date Served: June 17, 2021


James J. Solinski                Kenneth Steidl                    Ronda J. Winnecour
625 Glengarry Court              Steidl & Steinberg                Suite 3250, USX Tower
Pittsburgh, PA 15239             Suite 2830 Gulf Tower             600 Grant Street
                                 707 Grant Street                  Pittsburgh, PA 15219
Cheryl L. Solinski               Pittsburgh, PA 15219              Trustee
625 Glengarry Court              Attorney for Debtors
Pittsburgh, PA 15239
                                 Office of the United States
                                 Trustee
                                 Suite 3250, USX Tower
                                 600 Grant Street
                                 Pittsburgh , PA 15219


                                      /s/ Lauren M. Moyer
                                      MARGARET GAIRO, ESQUIRE ID # 34419
                                      MARISA MYERS COHEN, ESQUIRE ID #87830
                                      LAUREN M. MOYER, ESQUIRE ID # 320589
                                      JAMES FRENCH, ESQUIRE ID # 319597
                                      Attorney for LakeView Loan Servicing, LLC
                                      123 South Broad Street, Suite 1400
                                      Philadelphia, PA 19109
                                      Telephone: (215) 790-1010
                                      Facsimile: (215) 790-1274
                                      Email: ecfmail@mwc-law.com
                                                                                          ANNUAL ESCROW ACCOUNT
                                                                                            DISCLOSURE STATEMENT
P.O. Box 8068 | Virginia Beach, VA 23450




                                                                                                                   Statement Date:                      05/26/2021
      JAMES J SOLINSKI
      C/O KENNETH STEIDL ATTY
      707 GRANT ST STE 2830 GULF TOWER CH
      PITTSBURGH PA 15219-1932
      




     Annual Escrow Account Disclosure Statement                                                Contact Us

                                                                                               Customer Service/Pay-by-Phone
     Review Period:                                       09/2020 to 07/2021
                                                                                               1.800.509.0183*
     Escrow Surplus:                                                      $56.84               *Calls are randomly monitored and recorded to ensure quality service.

                                                                                               Hours
     Current Mortgage Payment                                                                  Monday - Friday: 8 a.m. to 10 p.m. EST
                                                                                               Saturday: 8 a.m. to 3 p.m. EST
     Principal and/or Interest:                                           $929.21
                                                                                               Website:
     Escrow (Taxes and/or Insurance):                                     $762.81              www.LakeviewLoanServicing.MyLoanCare.com
     Prorated Shortage:                                                    $35.40

     Total Monthly Payment:                                         $1,727.42
                                                                                              Autodraft Customers: If your mortgage payment amount has
                                                                                              changed, we'll adjust your payment for you.
     New Mortgage Payment
     Principal and/or Interest:                                           $929.21
                                                                                              Online Bill Payment Customers: If your mortgage payment
                                                                                              amount has changed, you will need to contact your financial
     Escrow (Taxes and/or Insurance):                                     $761.03             services provider to adjust your payment.
     Total New Monthly Payment                                      $1,690.24
     Effective Due Date:                                          08/01/2021




     Account History
     The following statement of activity in your escrow account from 09/2020 through 07/2021 displays actual activity as it occurred in your escrow account
     during that period. If your loan was transferred by another mortgage servicer, the prior projection information may not be included below.
     Month              Activity                                   Projected Amount       Actual Amount         Projected Escrow Balance          Actual Escrow Balance
                        Starting Balance                                                                                        $1,179.98                     $-9,329.05
     September          Deposit                                                $762.81             $0.00                        $1,942.79                     $-9,329.05
     September          MIP/PMI Disbursement                                   $172.85                 *                        $1,769.94                     $-9,329.05
     September          MIP/PMI Disbursement                                                    $168.13*                        $1,769.94                     $-9,497.18
     October            Deposit                                                $762.81          $752.96*                        $2,532.75                     $-8,744.22
     October            MIP/PMI Disbursement                                   $172.85                 *                        $2,359.90                     $-8,744.22
     October            MIP/PMI Disbursement                                                    $168.13*                        $2,359.90                     $-8,912.35
     November           Deposit                                                $762.81          $798.21*                        $3,122.71                     $-8,114.14
     November           MIP/PMI Disbursement                                   $172.85                 *                        $2,949.86                     $-8,114.14
     November           MIP/PMI Disbursement                                                    $168.13*                        $2,949.86                     $-8,282.27
     December           Deposit                                                $762.81        $1,596.42*                        $3,712.67                     $-6,685.85
     December           MIP/PMI Disbursement                                   $172.85                 *                        $3,539.82                     $-6,685.85
     December           MIP/PMI Disbursement                                                    $168.13*                        $3,539.82                     $-6,853.98
     January            Deposit                                                $762.81          $798.21*                        $4,302.63                     $-6,055.77
     January            MIP/PMI Disbursement                                   $172.85                 *                        $4,129.78                     $-6,055.77
     January            MIP/PMI Disbursement                                                    $168.13*                        $4,129.78                     $-6,223.90
     February           Deposit                                                $762.81        $1,596.42*                        $4,892.59                     $-4,627.48
     February           MIP/PMI Disbursement                                   $172.85                 *                        $4,719.74                     $-4,627.48
     February           MIP/PMI Disbursement                                                    $168.13*                        $4,719.74                     $-4,795.61
     March              Deposit                                                $762.81        $2,394.63*                        $5,482.55                     $-2,400.98
     March              MIP/PMI Disbursement                                   $172.85                 *                        $5,309.70                     $-2,400.98
     March              County Tax Disbursement                                $946.08           $946.08                        $4,363.62                     $-3,347.06
     March              MIP/PMI Disbursement                                                   $168.13*                         $4,363.62                     $-3,515.19
     April              Deposit                                                $762.81             $0.00                        $5,126.43                     $-3,515.19
     April              MIP/PMI Disbursement                                   $172.85                 *                        $4,953.58                     $-3,515.19



See reverse side for additional important information.



     Loan Number:
                                                                                         Surplus Amount
     JAMES J SOLINSKI
     C/O KENNETH STEIDL ATTY
     707 GRANT ST STE 2830 GULF TOWER CH
     PITTSBURGH PA 15219-1932
                                                                                          $56.84



                                                                                         Due to the delinquent status of your account, we will
     Lakeview Loan Servicing, LLC                                                        retain your remaining surplus.
     ATTN: Cashiering Department
     P.O. Box 8068
     Virginia Beach, VA 23450
 Account History
 Month           Activity                                     Projected Amount       Actual Amount     Projected Escrow Balance       Actual Escrow Balance
 April           MIP/PMI Disbursement                                                       $168.13*                   $4,953.58                  $-3,683.32
 April           Hazard Insurance Disbursement                                              $729.00*                   $4,953.58                  $-4,412.32
 May             Deposit                                                 $762.81        $9,259.92*E                    $5,716.39                   $4,847.60
 May             MIP/PMI Disbursement                                    $172.85                  *E                   $5,543.54                   $4,847.60
 May             Deposit                                                                       $0.00                   $5,543.54                   $4,847.60
 May             MIP/PMI Disbursement                                                       $168.13*                   $5,543.54                   $4,679.47
 June            Deposit                                                 $762.81           $762.81E                    $6,306.35                   $5,442.28
 June            MIP/PMI Disbursement                                    $172.85          $168.13*E                    $6,133.50                   $5,274.15
 June            Deposit                                                                       $0.00                   $6,133.50                   $5,274.15
 June            Hazard Insurance Disbursement                           $694.00                   *                   $5,439.50                   $5,274.15
 July            Deposit                                                 $762.81           $762.81E                    $6,202.31                   $6,036.96
 July            MIP/PMI Disbursement                                    $172.85          $168.13*E                    $6,029.46                   $5,868.83
                 Total Deposits                                        $8,390.91         $18,722.39
                 Total Disbursements                                   $3,541.43          $3,524.51
                 Account Balance as of 07/31/2021                                                                                                  $5,868.83
 An asterisk (*) appearing next to the amount indicates a difference from projected activity either in the amount or the date. The letter “E” next to an
 amount indicates that the payment or disbursement has not yet occurred, but is estimated to occur on the date shown.

 Last year we anticipated that Disbursements would be made from your Escrow Account during the period equaling $9,153.78. Your lowest monthly
 escrow balance should not have exceeded $1,179.92, which is either 1/6 (also equal to no more than two months) of the total projected payments from
 the account as required by federal law or the reasonable amount required by state law or the amount required by your mortgage contract. Your actual
 lowest monthly balance was $-9,497.18. The items with an asterisk on your Account History may explain this. For further explanation, call our toll-free
 number shown under the Contact Us section on this statement.


 Total Anticipated Annual Disbursement
 We anticipate paying the escrow items listed below on your behalf in the upcoming 12-month period. The dollar amount shown may be the last amount
 paid for that item, or we may project the amount due as defined by federal law.
 Tax                                                                          Insurance
 Item                        Annual Expense    Anticipated Date(s) of Payment Item                        Annual Expense      Anticipated Date(s) of Payment
 City Tax Disbursement             $5,439.66   August 2021                    MIP/PMI Disbursement                $168.13     August 2021
 County Tax Disbursement             $946.08   March 2022                     MIP/PMI Disbursement                $168.13     September 2021
                                                                              MIP/PMI Disbursement                $168.13     October 2021
                                                                              MIP/PMI Disbursement                $168.13     November 2021
                                                                              MIP/PMI Disbursement                $168.13     December 2021
                                                                              MIP/PMI Disbursement                $168.13     January 2022
                                                                              MIP/PMI Disbursement                $168.13     February 2022
                                                                              MIP/PMI Disbursement                $168.13     March 2022
                                                                              MIP/PMI Disbursement                $168.13     April 2022
                                                                              MIP/PMI Disbursement                $168.13     May 2022
                                                                              MIP/PMI Disbursement                $168.13     June 2022
                                                                              Hazard Insurance Disbursement       $729.00     June 2022
                                                                              MIP/PMI Disbursement                $168.13     July 2022
Total Anticipated Annual Disbursement = $9,132.30


 Account Projections
 The following information covers your projected escrow account activity from 08/2021 to 07/2022. All payments we anticipate receiving as well as
 disbursements we anticipate making on your behalf are included, along with the Projected Escrow Account Balance, derived by carrying forward your
 current actual escrow balance. The required Escrow Account Balance displays the amount actually required to be on hand as specified by federal law,
 state law, or your mortgage documents, and may include a cushion of up to one-sixth of your annual disbursements. Please retain this statement for
 comparison with the actual activity in your account at the end of the next escrow analysis cycle.
 Month               Projected             Disbursements                                                             Projected Escrow     Required Escrow
                     Payments
                     Projected             Projected               Description                                       Account Balance      Account Balance
                                                                   Beginning Balance                                          $5,868.83            $6,032.56
 August                          $761.03                 $168.13   MIP/PMI Disbursement                                       $6,461.73            $6,625.46
 August                                                $5,439.66   City Tax Disbursement                                      $1,022.07            $1,185.80
 September                       $761.03                 $168.13   MIP/PMI Disbursement                                       $1,614.97            $1,778.70
 October                         $761.03                 $168.13   MIP/PMI Disbursement                                       $2,207.87            $2,371.60
 November                        $761.03                 $168.13   MIP/PMI Disbursement                                       $2,800.77            $2,964.50
 December                        $761.03                 $168.13   MIP/PMI Disbursement                                       $3,393.67            $3,557.40
 January                         $761.03                 $168.13   MIP/PMI Disbursement                                       $3,986.57            $4,150.30
 February                        $761.03                 $168.13   MIP/PMI Disbursement                                       $4,579.47            $4,743.20
 March                           $761.03                 $168.13   MIP/PMI Disbursement                                       $5,172.37            $5,336.10
 March                                                   $946.08   County Tax Disbursement                                    $4,226.29            $4,390.02
 April                           $761.03                 $168.13   MIP/PMI Disbursement                                       $4,819.19            $4,982.92
 May                             $761.03                 $168.13   MIP/PMI Disbursement                                       $5,412.09            $5,575.82
 June                            $761.03                 $168.13   MIP/PMI Disbursement                                       $6,004.99            $6,168.72
 June                                                    $729.00   Hazard Insurance Disbursement                              $5,275.99            $5,439.72
 July                            $761.03                 $168.13   MIP/PMI Disbursement                                       $5,868.89            $6,032.62




   LoanCare is a debt collector. This is an attempt to collect a debt, and any information obtained will be used for that purpose. However, if you filed for
   bankruptcy, currently are in bankruptcy or received a discharge in bankruptcy, this communication is not an attempt to collect a debt, but is instead a
   legally required notice regarding your escrowed taxes and insurance.
Your Projected Escrow Account Balance as of 07/31/21 is $5,868.83. Your Required Beginning Escrow Balance according to this analysis should be
$6,032.56. This means you have a surplus of $56.84. This surplus must be returned to you unless it is less than $50.00, in which case we have the
additional option of keeping it and lowering your monthly payments accordingly. Due to the delinquent status of your account, we will retain your
remaining surplus.


Balance Your Escrow Account
Each year your account is reviewed to make sure there is enough money to pay your property taxes and/or insurance. Federal law allows us to require
a minimum balance in your account. This cash reserve helps to cover any increase in taxes and/or insurance. Subject to state law limits, your
minimum balance normally equals the amount of your escrow payments for about two months. The payments made to and from your escrow account
last year help predict your account activity for next year. Last year’s activity also helps predict what your lowest account balance is likely to be. To
balance your escrow account, we compare what your lowest account balance will likely be next year with your minimum required balance. The
difference between those two numbers tells us if you need to deposit additional funds or if we will provide a refund. Any refund over $50 will be
returned to you.
         $1,185.80   Your minimum required balance
         $1,022.07   Your projected lowest account balance for August
            $56.84   Your escrow account surplus/shortage
    use PLS ID, map Inv List Col U, if Inv List Col T
    equals ‘CL Logo’ then insert Client Logo, if Inv List
    Col S equals ‘LC Logo’ then insert LoanCare Logo

                                                                                 3637
                                                                                 P.O. Sentara
                                                                                      Box 8068Way
                                                                                                | |Virginia
                                                                                                    VirginiaBeach,
                                                                                                            Beach, VA
                                                                                                                   VA 23452
                                                                                                                      23450


            Understanding Your
               Understanding   Escrow
                             Your      Changes
                                  Escrow Changes                                                   FREQUENTLY ASKED QUESTIONS
     Over the past few years, we’ve worked to simplify our
           Over the past few years, we've worked to simplify our escrow                         I thought I had a fixed rate. Why did
     escrow   statement.
           statement. Now,Now,     understanding
                             understanding             your information
                                               your escrow  escrow is
     information
           even easier. In this letter, we're breaking downbreaking
                  is even   easier.   In  this letter, we’re   your statement                   my payment change?
     down even
            yourfurther
                 statement     eventhe
                        to explain    further
                                         changesto explain  the changes
                                                   in your escrow account
     in your  escrow account information.
           information.                                                                         Your mortgage payment is made up of
                                                                                                two parts: your loan payment (principal
              ReadRead
                    ahead  to see
                        ahead       your
                                to see    escrow
                                       your escrowpayment
                                                   payment breakdown
                                                           breakdown                            and interest) and your escrow payment
              and your projected
                   and your         disbursements
                            projected  disbursements                                            (taxes and insurance). Your loan
                                                                                                payment does not increase or decrease
                                                                                                unless you have an adjustable rate
              Get answers   to some
                   Get answers        of our
                                to some       most
                                         of our mostfrequently   asked
                                                      frequently asked
                                                                                                mortgage (ARM). The portion of your
              questions about escrow accounts
                   questions about  escrow  accounts
                                                                                                monthly mortgage payment that goes
                     See how to view your escrow information online                             toward escrows (taxes, homeowners
              See how to view your escrow information online                                    and/or mortgage insurance) will change
                                                                                                based on your projected amounts due to
     Your Your
          Payment  Information
               Payment Information                                                              be paid.

     Your current    totaltotal
            Your current   monthly   mortgage
                                monthly  mortgagepayment   is $1,727.42.
                                                  payment is  $[1]. Your                                 Your Mortgage Payment
     total amount due will change by $[2]. Your new totalnew
            Your total amount   due will change by $37.18. Your      total
                                                                  monthly
            monthly payment will be $1,690.24, effective
           ent  will be $[3], effective [4].
            08/01/2021.

            Escrow
            Your    [Surplus/Shortage]
                 Escrow Surplus
                                                                                                              Your Loan Payment
             Your projected escrow account balance as of 07/31/21 is
            projected    escrow account balance as of [8] is $[5]. Your
             $5,868.83. Your required beginning escrow balance according
           red   beginning
             to this          escrowbebalance
                     analysis should           according
                                       $6,032.56.         to this
                                                  This means  youanalysis
                                                                  have a
            dsurplus
               be $[6].   This
                      of $56.84.means  you have   a [surplus/shortage] of                                   Your Escrow Payment*
           If this field is negative, make positive).
                     A surplus or shortage in your escrow account
                     commonly occurs when:
               A surplus or shortage in your escrow account
               commonly   occurs
               > The projected   when:
                               amount at closing increases or decreases
              > Your property taxes increase or decrease
              > Your homeowners insurance increases or decreases                                * Your escrow payment may consist of the items in
           The
              > projected amount
                 You change         at closing insurance
                             your homeowners    increasescompany
                                                           or decreases                         the three categories shown in gray.
           Your property
              > We        taxes increase
                    pay delinquent taxes on or decrease
                                            your  behalf
           Your homeowners insurance increases or decreases                                    Please note: this chart is provided for
            If you have questions about an increase in your property                            demonstration purposes only and is not intended
           You change
            taxes           yourpremiums,
                   or insurance    homeowners
                                            pleaseinsurance   company
                                                    contact your local                          to represent the specific amount you have in each
           We pay
            taxing     delinquent
                    authority        taxes agent.
                              or insurance on your behalf                                       category.

       If you
           Yourhave questions about an increase in your property taxes or
                 Surplus                                                                        Why is there extra money in my
       insurance premiums, please contact your local taxing authority or                        escrow account?
       insurance   agent.
           If you have a surplus of more than $50.00:
                                                                                                Your escrow account makes sure you
             > As long as your loan is current, we will issue you a
     Your Surplus                                                                               have money set aside to pay the
               check for the surplus amount. If your loan is current and                        necessary taxes and insurance.
               your surplus check is not enclosed with your Annual
    If you haveEscrow
                a surplus   of more
                        Account      than $50.00:
                                 Disclosure Statement, you can expect
               to receive it soon.                                                              A certain amount of the funds in your
                                                                                                escrow account are designated to help
        As long as your loan is current, we will issue you a check                             keep your account from going negative.
         If you have a surplus of less than $50.00:
         for the surplus amount. If your loan is current and your                               We call that an escrow cushion.
         surplus  check
             > We will    isthe
                       keep  notsurplus
                                 enclosed    with your
                                         and lower      Annual Escrow
                                                   your monthly
         Account   Disclosure
               payments  as notedStatement,    you can expect to receive
                                   on your statement.                                           Think of your cushion as overdraft
         it soon.                                                                               protection for your escrow account. Your
           Please review the Account Projections section of your Annual                         cushion is designed to help offset any
           Escrow Account Disclosure Statement to confirm the
    If you have  a surplus
           disbursement        of lessofthan
                            amounts           $50.00: items. If you find
                                         the escrowed                                           small changes in your tax and/or
           errors in this information, please confirm the disbursement                          insurance bills. This helps lessen the
           We will keep
         amounts            thelocal
                      with your   surplus   and
                                       taxing    lower or
                                              authority your monthly
                                                          insurance     payment
                                                                     carrier                    burden of an escrow shortage when your
                                                                                                escrow analysis is completed. Cushions
           as noted on your statement.
           and  contact  us  to report any  discrepancies.
                                                                                                typically cannot be waived or removed.


                                   Customer Service: <map PLS matrix> Collections: <map PLS matrix>
                                                        <map1.800.509.0183
                                            Customer Service:  PLS matrix website>
                                                                                Collections: 1.800.509.0183
                                    Monday – Friday: 8 A.M. – 10 P.M. ET Saturday 8 A.M. – 3 P.M. ET
                                                    www.LakeviewLoanServicing.MyLoanCare.com
                                           Monday – Friday: 8 A.M. – 10 P.M. ET Saturday 8 A.M. – 3 P.M. ET
                                             3637 Sentara Way | Virginia Beach, VA 23452
                                                            P.O. Box 8068 | Virginia Beach, VA 23450

I
 use PLS ID, map Inv List Col U, if Inv List Col T
 equals ‘CL Logo’ then insert Client Logo, if Inv List
 Col S equals ‘LC Logo’ then insert LoanCare Logo
                                                                                                                 3637
                                                                                                                   P.O.Sentara Way || Virginia
                                                                                                                        Box 8068      VirginiaBeach,
                                                                                                                                               Beach,VA
                                                                                                                                                      VA23452
                                                                                                                                                         23450

                    Check Your Information Online                                                                                How can I lower my escrow?
Please review the Account Projections section of your Annual
EscrowVisit  www.LakeviewLoanServicing.MyLoanCare.com
          Account  Disclosure Statement to confirm the to:                                                                       You may seek additional insurance
disbursement    amounts of the escrowed items. If you find errors
            > View your current escrow account balance
                                                                                                                                 quotes while maintaining the required
in this information, please   confirm   the disbursement amounts                                                                 coverage. You may contact your
            > View your payment  information
with your local  taxing
            > View       authority tax
                   your estimated   or insurance  carrier
                                       disbursement       and contact
                                                    amounts                                                                      taxing authorities and ensure that you
us to report  any discrepancies.
            > View your insurance premiums                                                                                       have taken advantage of all applicable
        > Enroll for email notifications when escrow                                                                             exemptions. If you are able to reduce
                                                                                                                                 the cost of your insurance and/or are
Check Yourdisbursements
           Informationare  Online
                               made
                                                                                                                                 approved for an exemption, please
                    If You Need Assistance                                                                                       make sure to provide us updated
Visit [map PLS matrix website] to:                                                                                               information.
                            Our representatives are ready to assist you should
               View your
                        you current  escrow
                            need further       account
                                          information     balance
                                                       or have additional
               View your   payment
                        questions      information
                                  or concerns.   Call 1.800.509.0183                                                             Can I prepay my escrow so that my
                                                                                                                                 payments don’t change?
               View your estimated tax disbursement
                        Monday-Friday,   8:00  A.M.-10:00  P.M.amounts
                                                                Eastern Time,
                        and Saturday, 8:00 A.M.-3:00 P.M. Eastern Time.
               View your insurance premiums                                                                                     No. You are required to pay 1/12th of
               Enroll for email notifications when escrow                                                                       each escrowed item monthly with your
                disbursements
                Sincerely,        are made                                                                                       principal and interest payment.

If You Need
       EscrowAssistance
              Department
                    Lakeview Loan Servicing, LLC
                    NMLS ID 2916
                      Our representatives are ready to assist you should
                      yousummary
                    This   need further
                                    is not ainformation
                                              substitute fororthe
                                                                have  additional
                                                                   Annual Escrow
                      questions
                    Account        or concerns.
                             Disclosure   Statement Call
                                                       and<map      PLS Customer
                                                            it is important that you still
                      Service  phone>      Monday-Friday,         8:00 A.M.-10:00
                    review the enclosed Annual Escrow Account Disclosure
                      P.M. Eastern
                    Statement          Time, and Saturday, 8:00 A.M.-3:00
                               in its entirety.
                      P.M. Eastern Time.
                TO THE EXTENT THE FAIR DEBT COLLECTION
                PRACTICES ACT (FDCPA) AND/OR STATE DEBT
Sincerely,
                COLLECTION LAWS ARE APPLICABLE, PLEASE BE
                ADVISED THAT THIS COMMUNICATION IS FROM A DEBT
EscrowCOLLECTOR   DepartmentAND ANY INFORMATION OBTAINED WILL
[use PLS ID, mapBE
                 Inv ListUSED           FOR
                         Col U, if Inv List         THAT
                                            Col T equals          then insert Col E <Legal Name>, if Inv List Col S equals ‘LC
                                                         ‘CL Logo’PURPOSE.

Logo’ then insert   <LoanCare, LLC>]
NMLS IDTO 2916
          THE EXTENT YOUR OBLIGATION HAS BEEN
       DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE
       AUTOMATIC STAY OR IS PROVIDED FOR IN A
This summary    is not a substitute for the Annual Escrow
       CONFIRMED PLAN, THIS COMMUNICATION IS FOR
Account  Disclosure Statement
       INFORMATIONAL              and itONLY,
                           PURPOSES      is important that NOT
                                               AND DOES    you still
review CONSTITUTE
       the enclosed AAnnual   Escrow    Account  Disclosure
                         DEMAND FOR PAYMENT OR AN ATTEMPT
Statement  in its entirety.
       TO IMPOSE    PERSONAL LIABILITY FOR SUCH
       OBLIGATION.
TO THE EXTENT THE FAIR DEBT COLLECTION
PRACTICES ACT (FDCPA) IS APPLICABLE, PLEASE BE
ADVISED THAT THIS COMMUNICATION IS FROM A
DEBT COLLECTOR AND ANY INFORMATION OBTAINED
WILL BE USED FOR THAT PURPOSE.

TO THE EXTENT YOUR OBLIGATION HAS BEEN
DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE
AUTOMATIC STAY OR IS PROVIDED FOR IN A
CONFIRMED PLAN, THIS COMMUNICATION IS FOR
INFORMATIONAL PURPOSES ONLY, AND DOES NOT
CONSTITUTE A DEMAND FOR PAYMENT OR AN
ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH
OBLIGATION.



                                          Customer Service: <map PLS matrix> Collections: <map PLS matrix>
                                                     Customer <map
                                                                Service:PLS  matrix website>
                                                                         1.800.509.0183    Collections: 1.800.509.0183
                                           Monday – Friday: 8 www.LakeviewLoanServicing.MyLoanCare.com
                                                               A.M. – 10 P.M. ET Saturday 8 A.M. – 3 P.M. ET
                                                    3637
                                                    MondaySentara   Way
                                                             – Friday:     | Virginia
                                                                       8 A.M.         Beach,
                                                                              – 10 P.M.      VA 23452
                                                                                        ET Saturday  8 A.M. – 3 P.M. ET
                                                                                   P.O. Box 8068 | Virginia Beach, VA 23450

rt Letter ID Page #                                                                                                                                              Loan Number
